                                                   Case 5:20-cv-02618-JWH-KK Document 73 Filed 03/14/22 Page 1 of 12 Page ID #:593



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                                                                     10

                                                                     11                     UNITED STATES DISTRICT COURT
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                                                                     12                   CENTRAL DISTRICT OF CALIFORNIA
                      601 South Figueroa Street, Suite 1950
                          Los Angeles, California 90017




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                                                                                                     EASTERN DIVISION
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                                                                     15   HEREDIA BOXING MANAGEMENT,                CASE NO. 5:20-cv-02618-JWH-KK
                                                                          INC., a California corporation; and
                                                                     16   MOSES HEREDIA, an individual,             Hon. John W. Holcomb
                                                                     17
                                                                                     Plaintiffs,                    SPECIALLY APPEARING
                                                                     18                                             DEFENDANT DANIEL
                                                                     19   vs.                                       KINAHAN’S NOTICE OF
                                                                                                                    MOTION AND MOTION TO
                                                                     20   MTK GLOBAL SPORTS                         SET ASIDE ENTRY OF
                                                                     21   MANAGEMENT, LLC, a Dubai limited          DEFAULT
                                                                          liability company, et al.,
                                                                     22                                             Date:       April 22, 2022
                                                                     23              Defendants.                    Time:       9:00 A.M.
                                                                                                                    Ctr.:       2
                                                                     24

                                                                     25                                             Complaint Filed: December 18,
                                                                                                                    2020
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                                                                                               MOTION TO SET ASIDE ENTRY OF DEFAULT
                                                   Case 5:20-cv-02618-JWH-KK Document 73 Filed 03/14/22 Page 2 of 12 Page ID #:594



                                                                      1   TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                      2         PLEASE TAKE NOTICE that, on April 22, 2022, at 9:00 a.m., or as
                                                                      3   soon thereafter as the matter may be heard, at George E. Brown, Jr. Federal
                                                                      4   Building and United States Courthouse, 3470 12th Street, Courtroom 2,
                                                                      5   Riverside, California, 92501, Specially Appearing Defendant Daniel Kinahan
                                                                      6   (“Mr. Kinahan”) will, and hereby does, move under Rule 55(c) of the Federal
                                                                      7   Rules of Civil Procedure, for an order setting aside the Clerk’s Entry of Default
                                                                      8   in this case (Dkt. #66). Good cause exists to grant this Motion because service
                                                                      9   upon Mr. Kinahan was defective, Mr. Kinahan was not culpable in allowing
                                                                     10   default to be entered, Mr. Kinahan has meritorious defenses, and Plaintiffs
                                                                     11   Heredia Boxing Management, Inc. and Moses Heredia (“Plaintiffs”) will not be
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                                                                     12   prejudiced if the default is set aside. The default should also be set aside because
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                                                                          Plaintiffs failed to serve Mr. Kinahan.
                          Los Angeles, California 90017




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                                                                     14         Mr. Kinahan has satisfied his meet-and-confer requirements under Local
                                                                     15   Rule 7-3. Mr. Kinahan, by and through his counsel, attempted to meet and
                                                                     16   confer with Plaintiffs’ counsel on February 17, 2022 about having the default set
                                                                     17   aside. (Declaration of Jason L. Liang, ¶ 2.) On February 22, 2022, the parties
                                                                     18   met and conferred over the issue. (Id., ¶ 3.) And on February 25, 2022,
                                                                     19   Plaintiffs indicated that they were not willing to stipulate to having the default set
                                                                     20   aside. (Id., ¶ 4.) Mr. Kinahan then began to prepare the instant motion. (Id.)
                                                                     21   //
                                                                     22   //
                                                                     23   //
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                                                                     26   //
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                                                                     28   //
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                                                                                            NOTICE OF MOTION TO SET ASIDE ENTRY OF DEFAULT
                                                   Case 5:20-cv-02618-JWH-KK Document 73 Filed 03/14/22 Page 3 of 12 Page ID #:595



                                                                      1         This Motion is based on this Notice of Motion and Motion, the
                                                                      2   Declarations of Daniel Kinahan and Jason Liang, the court filings in the case
                                                                      3   docket, and any additional matters the Court may consider at the hearing of this
                                                                      4   matter, if such a hearing is held.
                                                                      5

                                                                      6
                                                                           DATED: March 14, 2022               Respectfully Submitted,
                                                                                                               LIANG LY LLP
                                                                      7                                        By: /s/ Jason L. Liang
                                                                                                                  Jason L. Liang
                                                                      8                                           Will Wang
                                                                                                                  Attorneys for Daniel Kinahan
                                                                      9
                                                                     10

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                                                                                            NOTICE OF MOTION TO SET ASIDE ENTRY OF DEFAULT
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                                                                      1                                  I.      INTRODUCTION
                                                                      2          This lawsuit is about the alleged interference of a boxing contract that
                                                                      3   existed between Plaintiffs Moses Heredia and Heredia Boxing Management, Inc.
                                                                      4   (collectively, “Plaintiffs”) and Joseph “JoJo” Diaz. Based largely on information
                                                                      5   and belief, Plaintiffs sued various defendant parties, including Specially
                                                                      6   Appearing Defendant Daniel Kinahan (“Mr. Kinahan”).1 But Mr. Kinahan has
                                                                      7   nothing to do with Plaintiffs’ dispute, or their allegations. He is and was at all
                                                                      8   times relevant a resident of Dubai, in the United Arab Emirates. He does not
                                                                      9   conduct any business with Plaintiffs, or any of the other defendant parties. He
                                                                     10   does not conduct any business in the State of California.
                                                                     11          Default against Mr. Kinahan should be set aside. Plaintiffs had not
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                                                                     12   effected service on Mr. Kinahan because their service attempts did not provide
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                                                                          Mr. Kinahan with adequate notice. Moreover, “judgement by default is a drastic
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                                                                     14   step appropriate only in extreme circumstances; a case should, whenever
                                                                     15   possible, be decided on the merits.” United States v. Signed Pers. Check No. 730
                                                                     16   of Yubran S. Mesle, 615 F.3d 1085, 1086 (9th Cir. Cir. 2010), citing Falk v.
                                                                     17   Allen, 739 F.2d 461, 463 (9th Cir. 1984). The Ninth Circuit has repeatedly
                                                                     18   endorsed setting aside entries of default and default judgments so that cases can
                                                                     19   be decided on the merits. And when the actions which led to the entry of default
                                                                     20   were undertaken without counsel, the setting aside of entry of default or a default
                                                                     21   judgment is even more appropriate. As further discussed below, Mr. Kinahan
                                                                     22   did not know until recently that he had been sued in California, or that a default
                                                                     23   had been entered against him. Upon learning of this lawsuit, he acted diligently
                                                                     24   to obtain counsel and begin the process of having the default set aside.
                                                                     25          Under these circumstances, substantial justice requires the Court to set
                                                                     26   aside the default that had been entered against Mr. Kinahan.
                                                                     27          1
                                                                                   Mr. Kinahan specially appears to move for an order setting aside the entry of default
                                                                          against him, and explicitly reserves his right to raise jurisdictional objections and issues such
                                                                     28   as this Court’s lack of personal jurisdiction over Mr. Kinahan.
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                                                                                                     MOTION TO SET ASIDE ENTRY OF DEFAULT
                                                   Case 5:20-cv-02618-JWH-KK Document 73 Filed 03/14/22 Page 5 of 12 Page ID #:597



                                                                      1              II.   RELEVANT PROCEDURAL BACKGROUND
                                                                      2         Plaintiffs originally filed their complaint on December 18, 2020. [Dkt.
                                                                      3   No. 1.] On January 18, 2021, Plaintiffs filed the first amended complaint. [Dkt.
                                                                      4   No. 20.] On July 28, 2021, Plaintiffs filed a second amended complaint. [Dkt.
                                                                      5   No. 43.]
                                                                      6         On January 12, 2022, Plaintiffs apparently filed a proof of service
                                                                      7   purporting to show that Plaintiffs had served Mr. Kinahan and Defendant MTK
                                                                      8   Global Sport Management, LLC on October 6, 2021. [Dkt. No. 62.] According
                                                                      9   to the declaration of service, Plaintiffs attempted to serve Mr. Kinahan with a
                                                                     10   copy of the Second Amended Complaint apparently by 1) delivering to a P.O.
                                                                     11   Box that was supposedly used by or associated with MTK Global, 2) sending an
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                                                                     12   email to “r.reynolds@mtkglobal.com”, and 3) publication. [Dkt. No. 62 at ¶¶ 9-
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                                                                          10; Dkt. No. 64 at ¶ 4 (compare “The last-known address is: Daniel Kinahan, PO
                          Los Angeles, California 90017




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                                                                     14   Box 454833, Al Barsha Post Office, Dubai, United Arab Emirates” with “The
                                                                     15   last-known address is: MTK Global Sports Management, LLC, PO Box 454833,
                                                                     16   Al Barsha Post Office, Dubai, United Arab Emirates.”).]
                                                                     17         Mr. Kinahan does not work for MTK Global. (See Declaration of Daniel
                                                                     18   Kinahan (“Kinahan Decl.”), ¶ 3.) He does not use or have access to the P.O. Box
                                                                     19   to which Plaintiffs delivered the Second Amended Complaint and the subsequent
                                                                     20   application for default. (Id., ¶ 4.) He is not Mr. Reynolds, and he does nothave
                                                                     21   access to Mr. Reynolds’s email account. (Id., ¶ 5.)
                                                                     22         On February 1, 2022, Plaintiffs filed their application for an entry of
                                                                     23   default against Mr. Kinahan. [Dkt. No. 64.] Default was entered on February 2,
                                                                     24   2022. [Dkt. No. 66.] As soon as Mr. Kinahan was informed that default had
                                                                     25   been entered against him, he made arrangements to retain counsel to begin the
                                                                     26   process of setting aside that default. Mr. Kinahan, by and through his counsel,
                                                                     27   attempted to meet and confer with Plaintiffs’ counsel on February 17, 2022 about
                                                                     28   having the default set aside. (Declaration of Jason L. Liang (“Liang Decl.”), ¶
                                                                                                                  2
                                                                                                MOTION TO SET ASIDE ENTRY OF DEFAULT
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                                                                      1   2.) On February 22, 2022, the parties met and conferred over the issue. (Id., ¶
                                                                      2   3.) And on February 25, 2022, Plaintiffs indicated that they were not willing to
                                                                      3   stipulate to having the default set aside. (Id., ¶ 4.) Mr. Kinahan then began to
                                                                      4   prepare the instant motion. (Id.)
                                                                      5                                III.   ARGUMENT
                                                                      6   A.    The Default Should Be Set Aside Under Rules 55(c) and 60(b).
                                                                      7                Applicable Law.
                                                                      8         Rule 55(c) provides that an entry of default may be set aside upon a
                                                                      9   showing of good cause. See Fed. R. Civ. P. 55(c). Rule 60(b) provides that a
                                                                     10   court may set aside a default judgment for “mistake, inadvertence, surprise, or
                                                                     11   excusable neglect.” Fed. R. Civ. P. 60(b)(1). The Ninth Circuit has clarified that
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                                                                     12   the standards for “good cause” under both Rule 55(c) and Rule 60(b) are the
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                                                                          same. TCI Grp. Life Ins. Plan v. Knoebber, 244 F.3d 691, 696 (9th Cir. 2001);
                          Los Angeles, California 90017




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                                                                     14   see also Franchise Holding II, LLC v. Huntington Rests. Grp., Inc., 375 F.3d
                                                                     15   922, 925 (9th Cir. 2004). A court may set default aside due to “mistake,
                                                                     16   inadvertence, surprise, or excusable neglect.” Fed. R. Civ. P. 60(b); Mesle, 615
                                                                     17   F.3d at 1086 (“Our rules for determining when a default should be set aside are
                                                                     18   solicitous toward movants, especially those whose actions leading to the default
                                                                     19   were undertaken without the benefit of legal counsel.”).
                                                                     20         Moreover, the Ninth Circuit has emphasized that default judgments are
                                                                     21   “appropriate only in extreme circumstances; a case should, whenever possible, be
                                                                     22   decided on the merits.” TCI Grp. Life Ins. Plan v. Knoebber, 244 F.3d 691, 696
                                                                     23   (9th Cir. 2001). Therefore, as a general rule, cases should be decided on the
                                                                     24   merits as opposed to by default, and “any doubts as to the propriety of a default
                                                                     25   are usually resolved against the party seeking a default judgment.” James M.
                                                                     26   Wagstaffe, Federal Civil Procedure Before Trial § 6-A (citing Pena v. Seguros
                                                                     27   La Comercial, S.A., 770 F.2d 811, 814 (9th Cir. 1985)); Franchise Holding II,
                                                                     28   LLC v. Huntington Rests. Group, Inc., 375 F.3d 922, 925 (9th Cir. 2004); Hawaii
                                                                                                                  3
                                                                                                MOTION TO SET ASIDE ENTRY OF DEFAULT
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                                                                      1   Carpenters’ Trust Funds v. Stone, 794 F.2d 508, 513 (9th Cir. 1986). Brady v.
                                                                      2   United States, 211 F.3d 499, 504 (9th Cir. 2000) (the “Court’s discretion is
                                                                      3   ‘especially broad’ when...it is entry of default that is being set aside, rather than a
                                                                      4   default judgment.”).
                                                                      5         As such, the Court has broad discretion to overturn an entry of default.
                                                                      6   Mendoza v. Wight Vineyard Management, 783 F.2d 941, 945-46 (9th Cir. 1986).
                                                                      7   And this discretion is “more liberally applied” where a defendant seeks to set
                                                                      8   aside an entry of default pursuant to Rule 55(c) rather than a default judgment
                                                                      9   pursuant to Rule 60(b). Mesle, 615 F.3d at 1091 n.1. The more liberal approach
                                                                     10   is appropriate in the Rule 55(c) context because concerns regarding the finality of
                                                                     11   the judgment are inapplicable. Hawaii Carpenters’ Trust Funds v. Stone, 794
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                                                                     12   F.2d 508, 513 (9th Cir. 1986). Further, the rules governing motions to set aside
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                                                                          defaults “are solicitous towards movants, especially those whose actions leading
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                                                                     14   to the default were taken without the benefit of legal representation.” Id. at 1089.
                                                                     15         The Ninth Circuit has set forward a three-factor test to determine whether
                                                                     16   a defendant can establish the requisite good cause to set aside entry of default:
                                                                     17   (1) whether plaintiff would be prejudiced if the judgment is set aside, (2) whether
                                                                     18   defendant has no meritorious defense, or (3) whether defendant's culpable
                                                                     19   conduct led to the default. Mesle, 615 F.3d at 1091. Alternatively, improper
                                                                     20   service of a complaint also constitutes good cause to set aside an entry of default.
                                                                     21   Winplus N. Am., Inc. v. Scan Top Enter. Co., Ltd., 2015 WL 13919469, at *3
                                                                     22   (C.D. Cal. Dec. 7, 2015). Here, good cause can be found upon both bases, as
                                                                     23   established below.
                                                                     24                Mr. Kinahan Did Not Engage In Culpable Conduct.
                                                                     25         A defendant’s conduct is culpable “if [it] has received actual or
                                                                     26   constructive notice of the filing of the action and intentionally failed to answer.”
                                                                     27   Mesle, 615 F.3d at 1092 (culpability requires the defendant to have “acted with
                                                                     28   bad faith, such as an ‘intention to take advantage of the opposing party, interfere
                                                                                                                    4
                                                                                                 MOTION TO SET ASIDE ENTRY OF DEFAULT
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                                                                      1   with judicial decision-making, or otherwise manipulate the legal process”) (citing
                                                                      2   TCI Group Life Ins. Plan v. Knoebber, 244 F.3d 691, 697 (9th Cir. 2001)
                                                                      3   (overruled on other grounds)). Mere receipt of a pleading and failure to answer
                                                                      4   is not enough; to be culpable, a defendant’s conduct must be “‘willful, deliberate,
                                                                      5   or eviden[t] of bad faith.’” Id. (quoting American Alliance Inc. Co. v. Eagle Ins.
                                                                      6   Co., 92 F.3d 57, 61 (2d Cir. 1996)). Nor can a defendant’s conduct be culpable
                                                                      7   if he “offers a credible, good faith explanation negating any intention to take
                                                                      8   advantage of the opposing party, interfere with judicial decision making, or
                                                                      9   otherwise manipulate the legal process. . .” Id.
                                                                     10         Here, the default was not the result of any willful conduct by Mr. Kinahan.
                                                                     11   Plaintiffs attempted to serve Mr. Kinahan with a copy of the Second Amended
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                                                                     12   Complaint apparently by 1) delivering a P.O. Box that was supposedly used by
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                                                                          MTK Global, 2) sending an email to “r.reynolds@mtkglobal.com”, and 3)
                          Los Angeles, California 90017




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                                                                     14   publication. Indeed, Plaintiffs’ own evidence show that his service processor
                                                                     15   only emailed a “Mr. Reynolds.” [Dkt. 62, ¶ 10.] This was not enough to provide
                                                                     16   Mr. Kinahan with sufficient notice of Plaintiffs’ action. Mr. Kinahan does not
                                                                     17   work for MTK Global. (See Kinahan Decl., ¶ 3.) He does not use or have access
                                                                     18   to the P.O. Box to which Plaintiffs delivered the Second Amended Complaint
                                                                     19   and the subsequent application for default. (Id., ¶ 4.) He certainly is not Mr.
                                                                     20   Reynolds; nor does he have access to Mr. Reynolds’s email account. (Id., ¶ 5.)
                                                                     21         Further, according to Plaintiffs’ own evidence, service by publication is
                                                                     22   only appropriate if the person to be notified “has no domicile, residence, place of
                                                                     23   business, fax, email or a postal address” in the UAE. [Dkt. No. 62, ¶ 7.] But this
                                                                     24   does not apply to Mr. Kinahan. He was and is a current resident of Dubai.
                                                                     25   (Kinahan Decl. ¶ 2.) This is not a situation where Mr. Kinahan had willfully
                                                                     26   caused the default to be entered. Rather, the evidence shows that, instead of
                                                                     27   trying to locate and serve Mr. Kinahan, Plaintiffs tried to serve a company that
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                                                                                                 MOTION TO SET ASIDE ENTRY OF DEFAULT
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                                                                      1   was located in Dubai and a “Mr. Reynolds.” As such, service is improper and
                                                                      2   the default should be set aside.
                                                                      3                  Mr. Kinahan Has Meritorious Defenses To The SAC.
                                                                      4            A court should set aside an entry of default if the moving party establishes
                                                                      5   “some possibility that the outcome of the suit after a full trial will be contrary to
                                                                      6   the result achieved by the default.” Hawaii Carpenters’, 794 F.2d at 513. The
                                                                      7   burden of establishing such a possibility, however, is a light one – as “[a]ll that is
                                                                      8   necessary to satisfy the ‘meritorious defense’ requirement is to allege sufficient
                                                                      9   facts that, if true, would constitute a defense.” Mesle, 615 F.3d at 1094. “[T]he
                                                                     10   question whether the factual allegation is true” is not to be determined by this
                                                                     11   Court in deciding whether to set aside the default judgment. Id. (quoting in part
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                                                                     12   TCI Group, supra, 244 F.3d at 701). A defense is considered meritorious if
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                                                                          “there is some possibility that the outcome of the suit after a full trial will be
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                                                                     14   contrary to the result achieved by the default.” Hawaii Carpenters’, 794 F.2d at
                                                                     15   51. Moreover, this meritorious defense requirement is more liberally applied on
                                                                     16   a Rule 55(c) motion to set aside entry of default than on a Rule 60(b) motion to
                                                                     17   set aside default judgment. Mesle, 615 F.3d at 1091 n.1.
                                                                     18            Here, there is ample cause to set aside the entry of default. Mr. Kinahan
                                                                     19   has virtually no connection with the present dispute. He is a resident of Dubai.
                                                                     20   (Kinahan Decl., ¶ 2.) He does not have any business or personal relationship
                                                                     21   with Plaintiffs. He has not communicated with Plaintiffs in any manner. (Id., ¶
                                                                     22   6.) He also does not have any agreements with any of the other defendants. (Id.,
                                                                     23   ¶ 3.) In fact, Mr. Kinahan does not conduct any business in California. (Id., ¶ 2.)
                                                                     24   Under these circumstances, the entry of default should be set aside so that Mr.
                                                                     25   Kinahan can have opportunity to litigate the merits of his defense before the
                                                                     26   Court.
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                                                                                                   MOTION TO SET ASIDE ENTRY OF DEFAULT
                                             Case 5:20-cv-02618-JWH-KK Document 73 Filed 03/14/22 Page 10 of 12 Page ID #:602



                                                                      1                Setting Aside The Entry Of Default Will Not Prejudice
                                                                      2                Plaintiffs.
                                                                      3         Prejudice turns on whether a plaintiff’s ability to pursue its claims will be
                                                                      4   hindered if default is set aside. Falk, 739 F.2d at 463. “To be prejudicial, the
                                                                      5   setting aside of a judgment must result in greater harm than simply delaying
                                                                      6   resolution of the case.” Mesle, 615 F.3d at 1095 (quoting with approval TCI
                                                                      7   Group, supra, 244 F.3d at 701). Merely forcing the parties to litigate on the
                                                                      8   merits “cannot be considered prejudicial,” as “vacating the default [] merely
                                                                      9   restores the parties to an even footing in the litigation.” TCI Group, 244 F. 3d at
                                                                     10   701. As such, California district courts have noted that where, as here, default
                                                                     11   judgment has not been entered, the lack of prejudice to the plaintiff favors
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                                                                     12   granting the motion to set aside entry of default. See J & J Sports Productions,
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                                                                          Inc. v. Nguyen, 2011 WL 6294332 at *2 (N.D. Cal. Dec 14, 2011); Integrated
                          Los Angeles, California 90017




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                                                                     14   Sports Media, Inc. v. Mendez, 2011 WL 2118661 at *3 (N.D. Cal. May 27,
                                                                     15   2011).
                                                                     16         Here, the only prejudice Plaintiffs will sustain as a result of setting aside
                                                                     17   the default is that they will be forced to litigate this case on the merits. TCI
                                                                     18   Group, 244 F.3d at 701, citing to Bateman v. United States Postal Service, 231
                                                                     19   F.3d 1220 (9th Cir. 2000) (“no prejudice simply because a party loses a quick
                                                                     20   victory due to opponent's procedural default and must litigate on the merits.”).
                                                                     21   Trial in this matter has not been set. And since learning about the entry of
                                                                     22   default, Mr. Kinahan has been diligent in moving to set aside default. Default
                                                                     23   was entered on February 2, 2022. [Dkt. No. 66.] As soon as Mr. Kinahan was
                                                                     24   informed that default had been entered against him, he made arrangements to
                                                                     25   retain counsel to begin the process of setting aside that default. Mr. Kinahan, by
                                                                     26   and through his counsel, attempted to meet and confer with Plaintiffs’ counsel on
                                                                     27   February 17, 2022 about having the default set aside. (Declaration of Jason L.
                                                                     28   Liang (“Liang Decl.”), ¶ 2.) On February 22, 2022, the parties met and conferred
                                                                                                                    7
                                                                                                 MOTION TO SET ASIDE ENTRY OF DEFAULT
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                                                                      1   over the issue. (Id., ¶ 3.) And on February 25, 2022, Plaintiffs indicated that
                                                                      2   they were not willing to stipulate to having the default set aside. (Id., ¶ 4.) Mr.
                                                                      3   Kinahan then began to prepare the instant motion. (Id.)
                                                                      4   B.    The Default Should Be Set Aside Because Plaintiffs Failed To
                                                                      5         Properly Serve Mr. Kinahan With The Second Amended Complaint.
                                                                      6         “Courts in the Ninth Circuit have consistently found that ‘[i]mproper
                                                                      7   service of the complaint presents good cause to set aside entries of default.’”
                                                                      8   Winplus N. Am., Inc., 2015 WL 13919469, at *3. This is because “[i]t is
                                                                      9   axiomatic that a federal court does not have jurisdiction over a defendant if the
                                                                     10   defendant has not been properly served.” McVey v. McVey, 2013 WL 12333433,
                                                                     11   at *2 (C.D. Cal. Apr. 23, 2013). Thus, several California district courts have
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                                                                     12   held that any default entered following defective service of process must be set
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                                                                          aside, even without the need to analyze the three Mesle factors. See id.;
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                                                                     14   Procopio v. Conrad Prebys Tr., 2015 WL 4662407, at *7 (S.D. Cal. Aug. 6,
                                                                     15   2015); Collins v. Proceeds In Rem, 2021 WL 4459666, at *1 (C.D. Cal. Aug. 9,
                                                                     16   2021) (plaintiff sued a bank and two of its former employees; former employees
                                                                     17   declared that they never received process at the address where plaintiff allegedly
                                                                     18   served them, as they did not work or live there; the Court granted the employees’
                                                                     19   motion and set aside the entry of default).
                                                                     20         Here, as established above, none of Plaintiffs’ attempts at service were
                                                                     21   proper or sufficient to provide Mr. Kinahan with any notice of the Second
                                                                     22   Amended Complaint. Plaintiffs sent the Second Amended Complaint to a P.O.
                                                                     23   Box ostensibly associated with MTK Global, as well as an email address
                                                                     24   ostensibly associated with a man named Mr. Reynolds. But again, Mr. Kinahan
                                                                     25   does not work for MTK Global and does not have access to the P.O. Box where
                                                                     26   the Second Amended Complaint was sent. He also does not have access to Mr.
                                                                     27   Reynolds’ email account. As such, Mr. Kinahan was never properly served with
                                                                     28   the Second Amended Complaint, and the default should be set aside.
                                                                                                                   8
                                                                                                 MOTION TO SET ASIDE ENTRY OF DEFAULT
                                             Case 5:20-cv-02618-JWH-KK Document 73 Filed 03/14/22 Page 12 of 12 Page ID #:604



                                                                      1                               IV.   CONCLUSION
                                                                      2         For the foregoing reasons, the Court should grant Mr. Kinahan’s Motion
                                                                      3   and set aside the entry of default as to Mr. Kinahan.
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                                                                          DATED: March 14, 2022             Respefully Submitted,
                                                                                                            LIANG LY LLP
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                                                                                                            By: /s/ Jason L. Liang
                                                                                                               Jason L. Liang
                                                                      8                                        Will Wang
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                                                                                                MOTION TO SET ASIDE ENTRY OF DEFAULT
